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 1   COUNSEL IDENTIFICATION ON FINAL PAGE
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 3

 4                                  UNITED STATES DISTRICT COURT
 5                                 EASTERN DISTRICT OF CALIFORNIA
 6

 7
      NATURAL RESOURCES DEFENSE                        Case No. 1:05-cv-01207 LJO-EPG
 8    COUNCIL, et al.,
                                                       STIPULATION AND SCHEDULING
 9                        Plaintiffs,                  ORDER
10              v.
11    DAVID BERNHARDT, in his official
      capacity as Secretary of the Interior, et al.,
12
                          Defendants.
13

14

15    SAN LUIS & DELTA MENDOTA
      WATER AUTHORITY, et al.,
16
                          Defendants-Intervenors.
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18    ANDERSON-COTTONWOOD
      IRRIGATION DISTRICT, et al.,
19
                          Joined Parties.
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                                                                     STIPULATION AND SCHEDULING ORDER
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 1                                               RECITALS
 2           WHEREAS, on November 13, 2019, the Court directed the parties to brief all proposed
 3   motions (to dismiss, reconsider, and stay) such that those motions are ripe no later than December
 4   23, 2019, and directed the parties to meet and confer in an attempt to agree upon a schedule for
 5   their filings, ECF No. 1378;
 6                                             STIPULATION
 7           NOW THEREFORE, counsel for Plaintiffs and Defendants hereby stipulate to the
 8   following briefing schedule:
 9
                                          Event                                     Deadline
10
            Defendants’ supplemental motions to dismiss                         November 19
11          Plaintiffs’ motion to stay                                          December 2
            Defendants’ oppositions to motion for reconsideration               December 3
12          Plaintiffs’ opposition to motions to dismiss                        December 10
13          Plaintiffs’ reply in support of motion for reconsideration          December 16
            Defendants’ oppositions to motion to stay                           December 16
14          Defendants’ replies to motions to dismiss                           December 23
            Plaintiffs’ reply to motion to stay                                 December 23
15

16

17   DATED: November 15, 2019                      /s/ Katherine S. Poole
                                                   Katherine S. Poole
18
                                                   KATHERINE POOLE (SBN 195010)
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                                                   DOUGLAS ANDREW OBEGI (SBN 246127)
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25                                                 DANIELLE LEONARD (SBN 218201)
                                                   BARBARA JANE CHISHOLM (SBN 224656)
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                                                                            STIPULATION AND SCHEDULING ORDER
                                                                                   CASE NO. 1:05-CV-01207 LJO-EPG
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 1                                      Attorneys for Plaintiff NRDC
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 8                                      Attorneys for all Plaintiffs
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     DATED: November 15, 2019           /s/ Nicole M. Smith
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                                        U.S. Department of Justice
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16                                      Attorneys for Federal Defendants

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     DATED: November 15, 2019           /s/ Andrew Hitchings
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                                                               STIPULATION AND SCHEDULING ORDER
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                                        Attorneys for Intervenors and Joined Party
 1                                      Defendants GLENN-COLUSA IRRIGATION
                                        DISTRICT, PRINCETON-CODORA-GLENN
 2                                      IRRIGATION DISTRICT, PROVIDENT
                                        IRRIGATION DISTRICT, ANDERSON-
 3                                      COTTONWOOD IRRIGATION DISTRICT, CITY
                                        OF REDDING, M & T CHICO RANCH (PACIFIC
 4                                      REALTY ASSOCIATES), RECLAMATION
                                        DISTRICT NO. 1004, CONAWAY
 5                                      PRESERVATION GROUP, LLC, AND DAVID
                                        AND ALICE TE VELDE FAMILY TRUST,
 6                                      KNIGHTS LANDING INVESTORS, LLC, and
                                        PELGER ROAD 1700, LLC
 7

 8
     DATED: November 15, 2019           /s/ Meredith Nikkel
 9                                      Meredith Nikkel
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                                        621 Capitol Mall, 18th Floor
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13                                      Attorneys for Intervenors and Joined Party
                                        DEFENDANTS RECLAMATION DISTRICT
14                                      NO. 108, SUTTER MUTUAL WATER COMPANY,
                                        NATOMAS CENTRAL MUTUAL WATER
15                                      COMPANY, RIVER GARDEN FARMS
                                        COMPANY, PLEASANT GROVE-VERONA
16                                      MUTUAL WATER COMPANY, PELGER
                                        MUTUAL WATER COMPANY, MERIDIAN
17                                      FARMS WATER COMPANY, HENRY D.
                                        RICHTER, ET AL., HOWALD FARMS, INC., OJI
18                                      BROTHERS FARM, INC., OJI FAMILY
                                        PARTNERSHIP, CARTER MUTUAL WATER
19
                                        COMPANY, WINDSWEPT LAND AND
                                        LIVESTOCK COMPANY, MAXWELL
20                                      IRRIGATION DISTRICT, BEVERLY F.
                                        ANDREOTTI, ET AL. AND TISDALE
21                                      IRRIGATION AND DRAINAGE COMPANY
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                                                              STIPULATION AND SCHEDULING ORDER
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 1
                                            [PROPOSED] ORDER
 2
             Pursuant to the Parties’ Stipulation, the Court hereby ORDERS that the following schedule
 3
     is established.
 4

 5                                         Event                               Deadline
             Defendants’ supplemental motions to dismiss                   November 19
 6
             Plaintiffs’ motion to stay                                    December 2
 7           Defendants’ oppositions to motion for reconsideration         December 3
             Plaintiffs’ opposition to motions to dismiss                  December 10
 8           Plaintiffs’ reply in support of motion for reconsideration    December 16
             Defendants’ oppositions to motion to stay                     December 16
 9
             Defendants’ replies to motions to dismiss                     December 23
10           Plaintiffs’ reply to motion to stay                           December 23
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12   IT IS SO ORDERED.
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         Dated:        November 18, 2019                     /s/ Lawrence J. O’Neill _____
14                                                  UNITED STATES CHIEF DISTRICT JUDGE
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     PROOF OF SERVICE
     CASE NO. 1:05-CV-01207 LJO-EPG
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